             Case 24-11552                  Doc 29      Filed 08/23/24 Entered 08/23/24 17:16:51                                Desc Main
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Fill in this information to identify the case:

Debtor name         Berkshire Investments LLC

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ILLINOIS

Case number (if known)       24-11552
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   Schaumburg Bank & Trust
                   Balance as of 8/8/24
                   Closed August 14, 2024 and Money
          3.1.     Transferred to DIP Account.                       Operating Account                     1354                                     $5,462.70


                   Schaumburg Bank & Trust
                   Balance as 8/8/24 $0.00
                   Account still open per request of DIP
                   Lender to avoid disruption in
                   remittances
          3.2.     Account sweep to lender daily                     DACA Account                          1834                                             $0.00




          3.3.     Busey Bank-Closed                                 Operating Account                     3605                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $5,462.70
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                       page 1
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             Name




Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                  507,678.08        -                                   0.00 = ....                  $507,678.08
                                      face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                          $507,678.08
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used     Current value of
                                             physical inventory            debtor's interest         for current value         debtor's interest
                                                                           (Where available)

19.       Raw materials
          557,727 lbs                                                           $1,827,193.00                                         $1,827,193.00



20.       Work in progress
          Work in progress                                                         $438,688.00                                          $438,688.00



21.       Finished goods, including goods held for resale
          Finished goods                                                           $116,277.00                                          $116,277.00



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                        $2,382,158.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                              Valuation method                                Current Value


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                           page 2
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             Name

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          See Exhibit B attached.                                                 $189,713.46                                            $4,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computer equipment                                                      $190,836.00                                            $5,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                               $9,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    See Exhibit C attached.                                           Unknown                                             Unknown


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
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              Name



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           See Exhibit D attached.                                            $3,240,471.00                                            $3,240,471.00



51.        Total of Part 8.                                                                                                        $3,240,471.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used    Current value of
           property                              extent of              debtor's interest             for current value        debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.                                 Lease with
                    1601 S 54th Avenue,          option to buy
                    Cicerco, IL 60804.           back at
                    Industrial building.         1,750,000                              $0.00         N/A                                          $0.00




56.        Total of Part 9.                                                                                                                   $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                               page 4
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      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used     Current value of
                                                                        debtor's interest          for current value         debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           U.S. Trademark-Biobrass                                                       $0.00                                               $0.00


           Czech Republic Trademark-Biobrass                                             $0.00                                               $0.00



61.        Internet domain names and websites
           Domain Name: http://www.CXMetals.com
           Domain Name Registrat: GoDaddy.com
           Expiration Date: March 6, 2024                                          Unknown                                              Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                               $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 5
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Debtor          Berkshire Investments LLC                                                                           Case number (If known) 24-11552
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $5,462.70

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $507,678.08

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                           $2,382,158.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $9,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $3,240,471.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $6,144,769.78            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $6,144,769.78




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 6
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Fill in this information to identify the case:

Debtor name         Berkshire Investments LLC

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

Case number (if known)             24-11552
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Citibank, N.A.                               Describe debtor's property that is subject to a lien                          $0.00                    $0.00
      Creditor's Name                              Accounts receiveable from The Stanley
                                                   Works Co.
      388 Greenwhich Street
      New York, NY 10013
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      NELI International
2.2                                                                                                                   $2,200,770.88             $6,144,769.78
      Incorporated                                 Describe debtor's property that is subject to a lien
      Creditor's Name                              All assets in the company
      5075 Yonge Street, Suite
      700
      Toronto ON M2N 6C6
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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             Name

           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



       Tramec, LLC & Tramec
2.3                                                                                                                      $1,752,339.50          $6,144,769.78
       Sloan, LLC                                   Describe debtor's property that is subject to a lien
       Creditor's Name                              All asset in the company
       2502 N. State Street
       Iola, KS 66749
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                             $3,953,110.3
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        8

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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Fill in this information to identify the case:

Debtor name        Berkshire Investments LLC

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

Case number (if known)           24-11552
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $580.61
          AAA Cooper Transportation                                            Contingent
          PO Box 935003                                                        Unliquidated
          Atlanta, GA 31193                                                    Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Service
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $2,699.33
          ABF Freight System                                                   Contingent
          5400 W. 47th Street                                                  Unliquidated
          Chicago, IL 60638                                                    Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Service
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $291.71
          Abrasive Products, LLC dba                                           Contingent
          Diamond Tool & Abrasives                                             Unliquidated
          637 E. Golf Road                                                     Disputed
          Arlington Heights, IL 60005
                                                                            Basis for the claim: Goods
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $39,220.20
          Aegis Worldwide, LLC                                                 Contingent
          11550 N. Meridian Street, Suite 550                                  Unliquidated
          Carmel, IN 46032                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Service
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




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3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Air Products                                                 Contingent
         1940 Air Products Blvd.                                      Unliquidated
         Allentown, PA 18106                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,099.78
         Airgas USA, LLC                                              Contingent
         2530 Sever Road, Suite 300                                   Unliquidated
         Lawrenceville, GA 30043                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,485.00
         Ajax Tocco Magnethermic Corp.                                Contingent
         1745 Overland Avenue NE                                      Unliquidated
         Warren, OH 44483                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $12,700.00
         Algebra Inc.                                                 Contingent
         5250 McDermott Drive                                         Unliquidated
         Berkeley, IL 60163                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $675,000.00
         AM Industrial Group, LLC                                     Contingent
         16000 Commerce Park Drive                                    Unliquidated
         Brookpark, OH 44142                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $15,057.02
         Ameri-Source Specialty Products Inc                          Contingent
         2901 Industrial Blvd.                                        Unliquidated
         Bethel Park, PA 15102                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $21,171.17
         American Express                                             Contingent
         PO Box 96001                                                 Unliquidated
         Los Angeles, CA 90096                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,330.00
         American Foundry Society                                     Contingent
         35169 Eagle Way                                              Unliquidated
         Chicago, IL 60678                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,362.48
         American Welding & Gas                                       Contingent
         3900 West North Avenue                                       Unliquidated
         Stone Park, IL 60165                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $638.25
         Anderson Pest Solutions                                      Contingent
         PO Box 740608                                                Unliquidated
         Cincinnati, OH 45274                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $11,535.00
         ANJ Consulting Serviecs, LLC                                 Contingent
         9631 S. Cicero Avenue, #1426                                 Unliquidated
         Oak Lawn, IL 60453                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $16,465.40
         Applied Hydraulics Corporation                               Contingent
         944 N Spaulding Avenue                                       Unliquidated
         Chicago, IL 60673                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,616.11
         Aramark Uniform Services                                     Contingent
         25259 Network Place                                          Unliquidated
         Chicago, IL 60673                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $82,769.75
         Archer McKinley, Inc.                                        Contingent
         700 Commerce Drive, Suite 500                                Unliquidated
         Oak Brook, IL 60523                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Consulting
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,353.16
         Armil CFS, Inc.                                              Contingent
         15660 LaSalle Street                                         Unliquidated
         South Holland, IL 60473                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $125.00
         ASM International                                            Contingent
         9639 Kinsman Rd.                                             Unliquidated
         Materials Park, OH 44073                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $390.15
         AT&T                                                         Contingent
         PO Box 5019                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number 2745
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,464.75
         AT&T                                                         Contingent
         PO Box 5017                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number ance
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $264.76
         AT&T                                                         Contingent
         PO Box 5019                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number 8378
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $811.12
         AT&T                                                         Contingent
         PO Box 5019                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $721.50
         AT&T Mobility                                                Contingent
         PO Box 6463                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number 2768
                                                                   Is the claim subject to offset?     No       Yes




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3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,568.73
         Atlas Saw & Tool, LLC                                        Contingent
         7801 Ondustrial Court, Suite B                               Unliquidated
         Spring Grove, IL 60081                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9,394.68
         Atlas Toyota Material Handling                               Contingent
         27294 Network Place                                          Unliquidated
         Chicago, IL 60673                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,928.65
         Avana Electrotek                                             Contingent
         1445 Brummel Avenue                                          Unliquidated
         Elk Grove Village, IL 60007                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $400.00
         Axim Enterprises                                             Contingent
         32 Gazza Blvd.                                               Unliquidated
         Farmingdale, NY 11735                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,069.32
         Bearing Headquarters Company                                 Contingent
         PO Box 6267                                                  Unliquidated
         Broadview, IL 60155                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,843.72
         Belmont Equipment & Technologies                             Contingent
         32055 Edward Avenue                                          Unliquidated
         Madison Heights, MI 48071                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $458.00
         Berg Engineering & Sales Company                             Contingent
         3893 Industrial Avenue                                       Unliquidated
         Rolling Meadows, IL 60008                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Berkshire Hathaway Homestate                                 Contingent
         Companies                                                    Unliquidated
         PO Box 844501
                                                                      Disputed
         Los Angeles, CA 90084
                                                                   Basis for the claim: Service
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $778.00
         Beverly Snow & Ice                                           Contingent
         16504 S. Dixie Highway                                       Unliquidated
         Markham, IL 60428                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,540.00
         Bronson & Bratton                                            Contingent
         220 Shore Drive                                              Unliquidated
         Burr Ridge, IL 60527                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,024.00
         Buckeye Business Products                                    Contingent
         3830 Kelley Avenue                                           Unliquidated
         Cleveland, OH 44114                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,030.00
         C & E Fire Protection                                        Contingent
         6500 Halsey Drive                                            Unliquidated
         Woodridge, IL 60517                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $142,500.00
         Capital Metals                                               Contingent
         450 S. Lombard Road, Suite D                                 Unliquidated
         Addison, IL 60101                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $209,914.41
         Carolina Metals Group                                        Contingent
         249 N. Hartman                                               Unliquidated
         Dallas, NC 28034                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $76.02
         CDW Computer Centers, Inc.                                   Contingent
         1020 E. Lake Cook Road                                       Unliquidated
         Buffalo Grove, IL 60089                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,820.64
         Champion Chisel                                              Contingent
         804 E. 18th                                                  Unliquidated
         Rock Falls, IL 61071                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9,069.00
         Chardon Laboratories, Inc.                                   Contingent
         7300 Tussing Rd.                                             Unliquidated
         Reynoldsburg, OH 43068                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $783.88
         ChemPoint                                                    Contingent
         11 108th Avenue, NE Suite 1050                               Unliquidated
         Bellevue, WA 98004                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $464.19
         Chicago Jack Service                                         Contingent
         5317 W. 123rd Place                                          Unliquidated
         Alsip, IL 60803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,270.00
         Chicago Spectro Service Labs, Inc.                           Contingent
         6245 South Oak Park Avenue                                   Unliquidated
         Chicago, IL 60638                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $73.03
         Christopher Valadez                                          Contingent
         10325 Wight Street                                           Unliquidated
         Middletown, OH 45044                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $264,791.56
         Cohen Brothers Inc.                                          Contingent
         1520 14th Avenue                                             Unliquidated
         Middletown, OH 45044                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $681,767.70
         Combined Metal                                               Contingent
         8470 Keele Street                                            Unliquidated
         Concord, Ontario Canada L4K2S1                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $834,742.75
         Constellation New Energy                                     Contingent
         PO Box 4640                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,320.00
         Converge Technology Solutions                                Contingent
         PO Box 23623                                                 Unliquidated
         New York, NY 10087                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,475.03
         Copper DevelopmentAssoc/260 Madison                          Contingent
         260 Madison Avenue                                           Unliquidated
         New York, NY 10016                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Consulting
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,215.25
         Crane Tech, Inc.                                             Contingent
         4213 Technology Dr. Bldg. B                                  Unliquidated
         Modesto, CA 95356                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,410.47
         Crown Credit Company                                         Contingent
         PO Box 640352                                                Unliquidated
         Cincinnati, OH 45264                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Used lift truck (Cure amount)
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,000.00
         Culture Index LLC                                            Contingent
         10200 State Line Rd., Suite 200                              Unliquidated
         Leawood, KS 66206                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $413.99
         CyranTech                                                    Contingent
         3104 E. Camelback Road, #2240                                Unliquidated
         Phoenix, AZ 85016                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,750.00
         David Weidner Concrete                                       Contingent
         7705 Industrial Drive, Suite B                               Unliquidated
         Spring Grove, IL 60081                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,521.02
         Dell                                                         Contingent
         One Dell Way                                                 Unliquidated
         Round Rock, TX 78682                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $900.00
         Delta Screw Company                                          Contingent
         2036 N. Campbell Avenue                                      Unliquidated
         Chicago, IL 60647                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,487.98
         DNV GL Business Assurance USA, Inc.                          Contingent
         PO Box 74008806                                              Unliquidated
         Chicago, IL 60674                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $359,268.94
         Dormakaba                                                    Contingent
         6161 E. 75th Street                                          Unliquidated
         Indianapolis, IN 46250                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $162.26
         Double D Express, Inc.                                       Contingent
         PO Box 606                                                   Unliquidated
         Peru, IL 61354                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,871.05
         Economy Disposal Service                                     Contingent
         630 Hicks Rd.                                                Unliquidated
         Palatine, IL 60067                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $525.00
         EDM Products LLC                                             Contingent
         484 W. Wrightwood Avenue                                     Unliquidated
         Elmhurst, IL 60126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $39,600.00
         EMT Electrial Company                                        Contingent
         6207 W. Corneali Avenue                                      Unliquidated
         Chicago, IL 60634                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $19,500.00
         Environmental Process Technologies                           Contingent
         9132 Indianapolis Blvd.                                      Unliquidated
         Highland, IN 46322                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $453.60
         EverLights                                                   Contingent
         1020 Bonaventure Dr                                          Unliquidated
         Elk Grove Village, IL 60007                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,280.52
         Evoqua Water Technologies                                    Contingent
         28563 Network Place                                          Unliquidated
         Chicago, IL 60673                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $58,204.54
         Express Service, Inc.                                        Contingent
         PO Box 203901                                                Unliquidated
         Dallas, TX 75320                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $18,635.00
         Eyet Law LLC                                                 Contingent
         382 George Street New                                        Unliquidated
         New Brunswick, NJ 08901                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Consulting
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $860.93
         FedEx Remit                                                  Contingent
         PO Box 94515                                                 Unliquidated
         Palatine, IL 60094                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $18,916.11
         Flatiron Crane dba Simmers Crane                             Contingent
         415 31st Avenue                                              Unliquidated
         Rock Island, IL 61201                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $46,860.18
         Fluid-Aire Dynamics                                          Contingent
         530 Albion Avenue                                            Unliquidated
         Schaumburg, IL 60193                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,226.75
         Freedom Fastener Inc                                         Contingent
         869 E Schmaumburg Rd. Ste. 149                               Unliquidated
         Schaumburg, IL 60194                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $25,742.50
         Fry Productions                                              Contingent
         1221 Candlewick Dr. NW                                       Unliquidated
         Poplar Grove, IL 61065                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $14,557.00
         Gerald Bauman & Co, PC                                       Contingent
         1300 N Lake Shore Dr. #27B                                   Unliquidated
         Chicago, IL 60610                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $11,347.50
         Gexpro                                                       Contingent
         2019 Corporate Lane Ste 135                                  Unliquidated
         Naperville, IL 60563                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,599.00
         Glen Carbide Inc                                             Contingent
         1054 Campbells Run Rd.                                       Unliquidated
         Carnegie, PA 15106-1901                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,035.97
         Global Industrial                                            Contingent
         2505 Mill Center Parkway Ste 100                             Unliquidated
         Buford, GA 30518                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,558.32
         Grainger                                                     Contingent
         6450 Austin Ave.                                             Unliquidated
         Chicago, IL 60638-5394                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $90.00
         Hahn Calibration Service                                     Contingent
         20575 N William Ave                                          Unliquidated
         Lincolnshire, IL 60069                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,323.40
         HazChem Environmental Corp.                                  Contingent
         330 S. Fairbank St.                                          Unliquidated
         Addison, IL 60101                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,950.80
         Horizon Performance Technologies                             Contingent
         955B Walnut Ridge Dr.                                        Unliquidated
         Hartland, WI 53029                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         IEPA                                                         Contingent
         Bureau of Air-Compliance Unit                                Unliquidated
         PO Box 19276                                                 Disputed
         Springfield, IL 62794
                                                                   Basis for the claim: Notice purposes only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $550.00
         Illinois Emergency Management Agen.                          Contingent
         1035 Outer Park Dr.                                          Unliquidated
         Springfield, IL 62704-4462                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Illinois EPA                                                 Contingent
         Division of Air Pollution Control                            Unliquidated
         1022 North Grand Avenue East                                 Disputed
         Springfield, IL 62794
                                                                   Basis for the claim: Notice purposes only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $135,921.28
         Imperial Zinc Corp.                                          Contingent
         1061 East 103rd St.                                          Unliquidated
         Chicago, IL 60628                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,000.00
         Indiana Refractories Inc.                                    Contingent
         1815 S Anthony Blvd.                                         Unliquidated
         Fort Wayne, IN 46803-3605                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $29,478.00
         Industrial Overlay                                           Contingent
         2910 West Rock Falls Rd.                                     Unliquidated
         Rock Falls, IL 61071                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $533.92
         Industrial Tire Solutions                                    Contingent
         878 Eagle Dr.                                                Unliquidated
         Bensenville, IL 60106                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $750.00
         Inman Electric Motors                                        Contingent
         314 Civic Rd.                                                Unliquidated
         La Salle, IL 61301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,126.70
         Integral Power Technologies LLC                              Contingent
         420 W Prospect St.                                           Unliquidated
         Painesville, OH 44077                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $66,700.33
         Interco Trading Company                                      Contingent
         10 Fox Industrial Park Bldg 3                                Unliquidated
         Madison, IL 62060                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $354,349.58
         Intrametco                                                   Contingent
         14297 Bergen Blvd. Ste 200                                   Unliquidated
         Noblesville, IN 46060                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,389.93
         IT1 Source LLC                                               Contingent
         4110 N. Scottsdale Rd. Ste 300                               Unliquidated
         Scottsdale, AZ 85251                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,328.40
         Iten Industries Inc.                                         Contingent
         4602 Benefit Ave.                                            Unliquidated
         Ashtabula, OH 44004                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,800.05
         ITU Absorb Tech                                              Contingent
         4602 Benefit Ave.                                            Unliquidated
         Ashtabula, OH 44004                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $145,865.50
         J2M Cicero LLC                                               Contingent
         5550 W Touhy Ave. Suite 420                                  Unliquidated
         Skokie, IL 60077                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Property taxes owed under triple net lease
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $26,250.00
         J2M Cicero, LLC                                              Contingent
         5550 W. Touhy Avenue, Suite 420                              Unliquidated
         Skokie, IL 60077                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: 1 month's rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $63,962.65
         John Pempek Inc.                                             Contingent
         11745 Southwest Hwy.                                         Unliquidated
         Palos Heights, IL 60463                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $141,283.44
         JP Wire & Metals dba Shapiro Recycl                          Contingent
         243 Veterans Blvd.                                           Unliquidated
         Carlstadt, NJ 07072                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,000.00
         K & M Associates Inc.                                        Contingent
         555 Rogers St.                                               Unliquidated
         Downers Grove, IL 60515                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,645.00
         Kleen Air Service Corp.                                      Contingent
         5354 N Northwest Highway                                     Unliquidated
         Chicago, IL 60630-4039                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,522.88
         Konica Minolta                                               Contingent
         21146 Network Place                                          Unliquidated
         Chicago, IL 60673-1211                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9,922.00
         Kronos SaaShr Inc.                                           Contingent
         PO Box 744724                                                Unliquidated
         Atlanta, GA 30374-4724                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $288.83
         Lapmaster Wolters                                            Contingent
         501 W Algonquin Rd                                           Unliquidated
         Mount Prospect, IL 60056                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,265.99
         Leica Microsystems Inc                                       Contingent
         10 Parkway Ste 300                                           Unliquidated
         Deerfield, IL 60015                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,188.44
         LH Marshall Company                                          Contingent
         1601 Woodland Avenue                                         Unliquidated
         Columbus, OH 43219                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,820.67
         LSA Services Inc.                                            Contingent
         820 Bonnie Lane                                              Unliquidated
         Elk Grove Village, IL 60007                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,850.00
         M Global Services                                            Contingent
         128 South Lucile St.                                         Unliquidated
         Seattle, WA 98108                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $321.05
         Magid Glove Manufacturing Co.                                Contingent
         1300 Napercille Dr.                                          Unliquidated
         Romeoville, IL 60446                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,985.00
         Master Cut EDM Inc.                                          Contingent
         1025 Lunt Ave. Ste. C                                        Unliquidated
         Schaumburg, IL 60193                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $14.07
         Max Lutes                                                    Contingent
         107 Harrison St. Apt. GE                                     Unliquidated
         Oak Park, IL 60304                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,470.34
         McMaster-Carr Supply Co.                                     Contingent
         PO Box 4355                                                  Unliquidated
         Chicago, IL 60680                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,314.20
         Mercer Transportation                                        Contingent
         PO Box 644011                                                Unliquidated
         Pittsburgh, PA 15264-4011                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $47,114.00
         Mersen USA GS Corp- Greenville                               Contingent
         712 Industrial Park Dr.                                      Unliquidated
         Greenville, MI 48838                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $35,250.00
         Messina Group                                                Contingent
         PO Box 958                                                   Unliquidated
         Park Ridge, IL 60068                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Berkshire Investments LLC                                                       Case number (if known)            24-11552
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3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $279.50
         Metals Technology Corp.                                      Contingent
         120 N. Schmale Rd.                                           Unliquidated
         Carol Stream, IL 60188-2151                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,255,589.27
         Metalsco Inc.                                                Contingent
         11006 Manchester Rd.                                         Unliquidated
         Saint Louis, MO 63122                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,051.25
         Methods Machine Tools                                        Contingent
         2400 Vantage Dr.                                             Unliquidated
         Elgin, IL 60124                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $965.68
         Metropolitan Water Reclamation Dist                          Contingent
         PO Box 95089                                                 Unliquidated
         Chicago, IL 60694-5089                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $14,594.22
         Midtown Petroleum (RelaDyne)                                 Contingent
         9707 S. 76th Ave.                                            Unliquidated
         Bridgeview, IL 60455                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $25,373.05
         Mostardi Platt                                               Contingent
         888 Industrial Dr.                                           Unliquidated
         Elmhurst, IL 60126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $17,659.02
         Motion Industries Inc/Mill                                   Contingent
         3839 S NormalAve                                             Unliquidated
         Chicago, IL 60609-1706                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Berkshire Investments LLC                                                       Case number (if known)            24-11552
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3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $912.84
         MSC Industrial Supply Company                                Contingent
         PO Box 953635                                                Unliquidated
         Saint Louis, MO 63195-3635                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $19,049.00
         Much Shelist PC                                              Contingent
         8477 Solution Center                                         Unliquidated
         Chicago, IL 60677-8004                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $41,784.00
         MWI Inc.                                                     Contingent
         1269 Brighton-Henrietta Townline Rd                          Unliquidated
         Rochester, NY 14623                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         MWRD Industrial Waste Enforcement                            Contingent
         11 East Eire Street                                          Unliquidated
         Chicago, IL 60611                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service-Notice purpose only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,035.00
         NACM Midwest                                                 Contingent
         3005 Tollview Dr.                                            Unliquidated
         Rolling Meadows, IL 60008-3700                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,000.00
         National Assoc. of Elevator Contrac                          Contingent
         1500 Klondike Rd. SW Ste. A211                               Unliquidated
         Conyers, GA 30094                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,682.65
         National Lift Truck                                          Contingent
         3333 Mt Prospect Rd                                          Unliquidated
         Franklin Park, IL 60131                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Berkshire Investments LLC                                                       Case number (if known)            24-11552
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3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $329.34
         Network Safety Consultants, Inc.                             Contingent
         10320 Orland Parkway                                         Unliquidated
         Orland Park, IL 60467                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,634.25
         Nicor Gas                                                    Contingent
         PO Box 6407                                                  Unliquidated
         Carol Stream, IL 60197-5407                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,955.00
         Occupational Health Centers                                  Contingent
         PO Box 488                                                   Unliquidated
         Lombard, IL 60148-0488                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,000.00
         OSI Environmental Inc.                                       Contingent
         R30-Merrillville 3300 E. 83rd Pl.                            Unliquidated
         Merrillville, IN 46410                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,319.20
         Pat Mooney Inc.                                              Contingent
         16 W Official Rd.                                            Unliquidated
         Addison, IL 60101                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,513,855.00
         Patrick J. Balson                                            Contingent
         292 Graemere Street                                          Unliquidated
         Northfield, IL 60093                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Payroll, salary, business and travel expenses
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,194,036.00
         Patrick J. Balson                                            Contingent
         292 Graemere Street                                          Unliquidated
         Northfield, IL 60093                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Cash advances/notes
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $68,351.00
         Paymaker Mechanical Inc.                                     Contingent
         1419 N Edgewood Lane                                         Unliquidated
         McHenry, IL 60051                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,824.60
         Perfect Temperature Inc.                                     Contingent
         74 Bradrock                                                  Unliquidated
         Des Plaines, IL 60018                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,370.00
         Petro-Chem Industries                                        Contingent
         3440 S Ashland Ave.                                          Unliquidated
         Chicago, IL 60608                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,824.34
         Pirtek Hoses & Assemblies                                    Contingent
         3440 S Ashland Ave.                                          Unliquidated
         Chicago, IL 60608                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $66,294.00
         Power Parts International Inc.                               Contingent
         742 S Indiana Ave.                                           Unliquidated
         West Bend, WI 53095                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods (Cure amount)
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,283.75
         Preferred Transportation Inc.                                Contingent
         PO Box 5261                                                  Unliquidated
         Phillipsburg, NJ 08865                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,187.00
         Premier Electronics                                          Contingent
         453 Coventry Lane Ste. 104                                   Unliquidated
         Crystal Lake, IL 60014                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $338,582.85
         Premier Metal Services LLC                                   Contingent
         8360 E. Washington St.                                       Unliquidated
         Chagrin Falls, OH 44023                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $128.95
         Quadient Finance                                             Contingent
         PO Box 6813                                                  Unliquidated
         Carol Stream, IL 60197-6813                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $749.19
         Quench USA Inc.                                              Contingent
         3175 Bass Pro Dr.                                            Unliquidated
         Grapevine, TX 76051                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,800.00
         QuesTek Innovations LLC                                      Contingent
         1820 Ridge Ave.                                              Unliquidated
         Evanston, IL 60201                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $127.89
         R & L Carriers                                               Contingent
         PO Box 100200                                                Unliquidated
         Port William, OH 45164-2000                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,963.95
         Refractory Engineers Inc.                                    Contingent
         175 Midwest Blvd.                                            Unliquidated
         Indianapolis, IN 46214                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,755.27
         Reliable Fire & Security                                     Contingent
         12845 Cicero Ave.                                            Unliquidated
         Alsip, IL 60803                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $106,020.26
         Resources Alloys & Metals Inc.                               Contingent
         PO Box 31765                                                 Unliquidated
         West Palm Beach, FL 33420                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $27,100.98
         RHM LLC                                                      Contingent
         2301 W 22nd St. Ste. 102                                     Unliquidated
         Oak Brook, IL 60523                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $125,000.00
         Richard Jenkins                                              Contingent
         512 Longmeadow Circle                                        Unliquidated
         Saint Charles, IL 60174                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Salary
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,332.00
         Rose Metal Industries LLC                                    Contingent
         1536 East 43rd St.                                           Unliquidated
         Cleveland, OH 44103                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,500.00
         Rosenwood                                                    Contingent
         1712 Euclid Ave.                                             Unliquidated
         Charlotte, NC 28203
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,056.68
         Rotolok Valves Inc-USA                                       Contingent
         2711 Gray Fox Rd.                                            Unliquidated
         Monroe, NC 28110                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,764.35
         Safety-Kleen Systems                                         Contingent
         PO Box 975201                                                Unliquidated
         Dallas, TX 75397-5201                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,602.70
         Schaeffers Special Lubricants                                Contingent
         102 Barton St.                                               Unliquidated
         Saint Louis, MO 63104                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $56,973.18
         Schuster Metals LLC                                          Contingent
         2206 North 30th St.                                          Unliquidated
         Milwaukee, WI 53208                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,025.00
         Scientific Control Laboratories                              Contingent
         3537 Momentum Place                                          Unliquidated
         Chicago, IL 60689-5335                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $108,014.82
         Securitas Security Services USA-Inc                          Contingent
         12672 Collections Center Dr.                                 Unliquidated
         Chicago, IL 60693                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $368.57
         Spectro Analytical Instruments Inc                           Contingent
         91 McKee Dr.                                                 Unliquidated
         Mahwah, NJ 07430                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $20,434.30
         Sterling Staffing Inc                                        Contingent
         2 Westbrook Corporate Center Ste300                          Unliquidated
         Westchester, IL 60154                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $109,000.00
         Sun-Pro Zinc Oxide                                           Contingent
         Marshal Pitchford                                            Unliquidated
         209 S. Main Street, Third Floor                              Disputed
         Akron, OH 44308
                                                                   Basis for the claim: Settlement amount owed.
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,790.00
         Sun-Tec Corporation                                          Contingent
         46590 Ryan Court                                             Unliquidated
         Novi, MI 48377                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $620.55
         SVI International Inc.                                       Contingent
         155 Harvestore Dr.                                           Unliquidated
         DeKalb, IL 60115                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,896.24
         T-Mobile                                                     Contingent
         PO Box 742596                                                Unliquidated
         Cincinnati, OH 45274-2596                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $208.60
         TC Direct                                                    Contingent
         PO Box 685                                                   Unliquidated
         Hillside, IL 60162                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,031.00
         Team Industrial Services Inc.                                Contingent
         7920 Maryland Ave.                                           Unliquidated
         Hammond, IN 46323                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $251,200.30
         Thalheimer                                                   Contingent
         700 E. Godfrey Ave.                                          Unliquidated
         Philadelphia, PA 19124                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $617.94
         The Expresso Shoppe                                          Contingent
         524 N York Rd                                                Unliquidated
         Bensenville, IL 60106                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Berkshire Investments LLC                                                       Case number (if known)            24-11552
            Name

3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $728.00
         The Hartford                                                 Contingent
         PO Box 660916                                                Unliquidated
         Dallas, TX 75266-0916                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $135.00
         The Home City Ice                                            Contingent
         3927 W. Fifth Ave.                                           Unliquidated
         Chicago, IL 60624                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $8,635.13
         The Horton Group                                             Contingent
         PO Box 778729                                                Unliquidated
         Chicago, IL 60677-8729                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,920.00
         Toolmag                                                      Contingent
         9025 Exchange                                                Unliquidated
         Franklin Park, IL 60131                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $182,033.35
         Total Metal Recycling (Wieland)                              Contingent
         2700 Missouri Ave.                                           Unliquidated
         Granite City, IL 62040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9,594.33
         Town of Cicero- water and sewer                              Contingent
         4949 West Cermak Rd                                          Unliquidated
         Cicero, IL 60804                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $24,070.00
         Toyo Tanso USA Inc                                           Contingent
         2575 NW Graham Circle                                        Unliquidated
         Troutdale, OR 97060-9509                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 26 of 32
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Debtor      Berkshire Investments LLC                                                       Case number (if known)            24-11552
            Name

3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,108.14
         Toyota Industries Comm. Fin. Inc.                            Contingent
         PO Box 660926                                                Unliquidated
         Dallas, TX 75266-0926                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,899.75
         Tri State Scale Systems Calibration                          Contingent
         191 Ontario St                                               Unliquidated
         Frankfort, IL 60423                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $300.00
         Tri-State Expedited Service                                  Contingent
         7681 Cummings Rd.                                            Unliquidated
         Millbury, OH 43447                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,859.30
         Trinity Consultants                                          Contingent
         PO Box 972047                                                Unliquidated
         Dallas, TX 75397-2047                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $87,826.18
         Tully & Associates Ltd.                                      Contingent
         33 N Dearborn St. Ste. 2450                                  Unliquidated
         Chicago, IL 60602-3103                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,719.71
         U.S. Air Filtration Inc.                                     Contingent
         10278 County Road 2213                                       Unliquidated
         Tyler, TX 75707                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $136,640.46
         UB Greensfelder, Hemker, Gale PC                             Contingent
         PO Box 875072                                                Unliquidated
         Kansas City, MO 64187-5094                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 27 of 32
              Case 24-11552                Doc 29          Filed 08/23/24 Entered 08/23/24 17:16:51                                      Desc Main
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Debtor      Berkshire Investments LLC                                                       Case number (if known)            24-11552
            Name

3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9,005.44
         Uline                                                        Contingent
         PO Box 88741                                                 Unliquidated
         Chicago, IL 60680-1741                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,998.44
         Unify Inc.                                                   Contingent
         PO Box 772207                                                Unliquidated
         Detroit, MI 48277-2207                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $85,143.72
         United Healthcare                                            Contingent
         233 N Michigan Ave.                                          Unliquidated
         Chicago, IL 60601                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,279.95
         United Radio Communications                                  Contingent
         9200 S Oketo Ave.                                            Unliquidated
         Bridgeview, IL 60455                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $279,747.08
         United Salvage Corp of America                               Contingent
         d/b/a Framingham Salvage Co.                                 Unliquidated
         120 Waverly St.                                              Disputed
         Framingham, MA 01702
                                                                   Basis for the claim: Goods
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,100.00
         United Scrap                                                 Contingent
         1545 S Cicero Ave.                                           Unliquidated
         Cicero, IL 60804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $19,450.22
         United Steelworkers/Union                                    Contingent
         PO Box 644485                                                Unliquidated
         Pittsburgh, PA 15264-4485                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 28 of 32
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Debtor      Berkshire Investments LLC                                                       Case number (if known)            24-11552
            Name

3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $498.58
         UPS- United Parcel Service                                   Contingent
         PO Box 809488                                                Unliquidated
         Chicago, IL 60680-9488                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,359.64
         Utility Mfg Co/vendor                                        Contingent
         2443 Boston Road                                             Unliquidated
         Wilbraham, MA 01095                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,603.76
         Van's Industrial                                             Contingent
         231 Condit St.                                               Unliquidated
         Hammond, IN 46320                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,078.30
         Vanguard Archives                                            Contingent
         PO Box 807 Ave.                                              Unliquidated
         Bensenville, IL 60106                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,040.00
         Verichek Technical Services Inc.                             Contingent
         3000 Industrial Blvd.                                        Unliquidated
         Bethel Park, PA 15102                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $12,852.00
         Video & Sound Service                                        Contingent
         40 W Lake St.                                                Unliquidated
         Melrose Park, IL 60164-2425                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,304.57
         Voestalpine High Perf. Metals                                Contingent
         2505 Millennium Dr.                                          Unliquidated
         Elgin, IL 60124                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 29 of 32
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Debtor      Berkshire Investments LLC                                                       Case number (if known)            24-11552
            Name

3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,068.95
         Warehouse Direct                                             Contingent
         2001 S Mount Prospect Rd.                                    Unliquidated
         Des Plaines, IL 60018                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $50.00
         Waste Management Inc.                                        Contingent
         PO Box 4648                                                  Unliquidated
         Carol Stream, IL 60197-4648                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $143,078.60
         WaterSaver Faucet Company                                    Contingent
         701 W Erie St.                                               Unliquidated
         Chicago, IL 60654                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,978.15
         Weaver Material Service Inc.                                 Contingent
         1810 Industrie Dr.                                           Unliquidated
         Jamestown, NY 14702-1151                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $698.54
         Wipeco Inc.                                                  Contingent
         171 S Gary Ave.                                              Unliquidated
         Carol Stream, IL 60188                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $18,050.00
         WIPFLi                                                       Contingent
         100 Tri State International Ste 300                          Unliquidated
         Lincolnshire, IL 60069                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $185.00
         World Asia Logistics                                         Contingent
         904 N Central Ave./Ste. 203                                  Unliquidated
         Wood Dale, IL 60191                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor       Berkshire Investments LLC                                                              Case number (if known)            24-11552
             Name

3.208     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $16,258.80
          WW Construction & Roofing                                           Contingent
          16W591 Crest Ave.                                                   Unliquidated
          Bensenville, IL 60106                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Service
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.209     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,810.87
          XPO Logistics                                                       Contingent
          29559 Network Place                                                 Unliquidated
          Chicago, IL 60673-1559                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Service
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.210     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,209.89
          Zoro Tools Inc.                                                     Contingent
          PO Box 5233                                                         Unliquidated
          Janesville, WI 53547-5233                                           Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Goods
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       Anthony Rutkowski
          Rutkowski Law Group, P.C.                                                                 Line     3.162
          8770 W. Bryn Mawr Avenue,Suite 1300
                                                                                                           Not listed. Explain
          Chicago, IL 60631

4.2       Blake Horwitz
          The Blake Horwitz Law Firm, Ltd.                                                          Line     3.38
          111 W. Washington Street, Ste. 1611
                                                                                                           Not listed. Explain
          Chicago, IL 60602

4.3       Chris Chagaris
          The Chagaris Law Firm, P.A.                                                               Line     3.39
          PO Box 1408
                                                                                                           Not listed. Explain
          Davidson, NC 28036

4.4       Joanna Kellogg
          Kellogg Law Group, LLC                                                                    Line     3.191
          525 W. Hawthorne Place, Suite 901
                                                                                                           Not listed. Explain
          Chicago, IL 60657

4.5       Keith R. Krider
          835 McClintock Drive, 2nd Floor                                                           Line     3.196
          Burr Ridge, IL 60527
                                                                                                           Not listed. Explain

4.6       Michael K. Jameson
          Meltzer, Purtill & Stelle LLC                                                             Line     3.72
          125 S. Wacker Drive, Suite 2900
                                                                                                           Not listed. Explain
          Chicago, IL 60606

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Debtor      Berkshire Investments LLC                                                   Case number (if known)       24-11552
            Name


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                              5a.       $                         0.00
5b. Total claims from Part 2                                                              5b.   +   $                11,480,010.27

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.       $                   11,480,010.27




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 32 of 32
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Fill in this information to identify the case:

Debtor name       Berkshire Investments LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)     24-11552
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Used lift truck lease.
           lease is for and the nature of        CRWCGC35 SAM - 9.
           the debtor's interest                 $1,010.31 per month.

               State the term remaining          Ends July 2026
                                                                                    Crown Credit Company
           List the contract number of any                                          PO Box 640352
                 government contract                                                Cincinnati, OH 45264


2.2.       State what the contract or            Property lease for
           lease is for and the nature of        Debtor's facility at 1601
           the debtor's interest                 S. 54th Avenue, Cicero,
                                                 IL 60804
               State the term remaining          Ends March 7, 2025
                                                                                    J2M-Cicero, LLC
           List the contract number of any                                          5550 W. Touhy Avenue, Suite 420
                 government contract                                                Skokie, IL 60077


2.3.       State what the contract or            Copier/printer lease;
           lease is for and the nature of        $1521.82 per quarter.
           the debtor's interest

               State the term remaining          Ends February 2025
                                                                                    Konica Minolta
           List the contract number of any                                          21146 Network Place
                 government contract                                                Chicago, IL 60673


2.4.       State what the contract or            Purchase order
           lease is for and the nature of        contract for
           the debtor's interest                 manufacturing
                                                 machine; owe $66,000,
                                                 already paid $100,000
               State the term remaining
                                                                                    Power Parts International Inc.
           List the contract number of any                                          742 S Indiana Ave.
                 government contract                                                West Bend, WI 53095



Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2
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Debtor 1 Berkshire Investments LLC                                               Case number (if known)   24-11552
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Postage machine;
          lease is for and the nature of    $50.79 per month
          the debtor's interest

             State the term remaining       Ends in 2026
                                                                        Quadient Finance USA
          List the contract number of any                               PO Box 6813
                government contract                                     Carol Stream, IL 60197


2.6.      State what the contract or        Water Cooler; water
          lease is for and the nature of    supply in plant for
          the debtor's interest             employees

             State the term remaining       Month-to-Month Lease
                                                                        Quench USA Inc.
          List the contract number of any                               630 Allendale Road, Suite 200
                government contract                                     King of Prussia, PA 19406


2.7.      State what the contract or        Union Contract;
          lease is for and the nature of    collective bargaining
          the debtor's interest             contract

             State the term remaining       Ends September 2026
                                                                        United Steelworkers/Union
          List the contract number of any                               PO Box 644485
                government contract                                     Pittsburgh, PA 15264-4485




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 2 of 2
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Fill in this information to identify the case:

Debtor name      Berkshire Investments LLC

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS

Case number (if known)   24-11552
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In re:                                           )      Case No. 24-11552
                                                 )
Berkshire Investments LLC,                       )      Chapter 11
                                                 )
         Debtor.                                 )      Honorable David D. Cleary
                                                 )

         STATEMENT OF LIMITATIONS AND SPECIFIC DISCLOSURES, AND
          RESERVATION OF RIGHTS REGARDING DEBTOR’S SCHEDULES
                  AND STATEMENT OF FINANCIAL AFFAIRS

        The Schedules of Assets and Liabilities (“Schedules”) and Statement of Financial
Affairs (“SOFA”) of Berkshire Investments LLC, an Illinois limited liability company
(“Berkshire” or the “Debtor”), in its chapter 11 case (the “Chapter 11 Case”) filed in the United
States Bankruptcy Court for the Northern District of Illinois, Eastern Division (the “Bankruptcy
Court”), were prepared pursuant to 11 U.S.C. § 521 and Fed. R. Bankr. P. 1007 by management
and other personnel of the Debtor with the assistance of bankruptcy counsel.

         The Schedules and SOFA have not been audited by independent auditors. The Debtor’s
books and records may be incomplete. While management has made every reasonable effort to
ensure that the Schedules and SOFA are accurate and complete based on information that was
available to them at the time of preparation and filing, subsequent information or discovery may
result in amendments to the Schedules and SOFA, and inadvertent errors or omissions may exist.
Accordingly, the Schedules and SOFA are subject to modification, amendment and
supplementation as a matter of course at any time before the Chapter 11 Case is closed. This
Statement of Limitations and Specific Disclosures, and Reservation of Rights Regarding
Debtor’s Schedules and Statement of Financial Affairs (the “Notes”) are hereby expressly
incorporated in, and constitute an integral part of, the Schedules and SOFA, and should be
referred to and considered in connection with any review of the Schedules and SOFA. The
Declaration of Richard N. Jenkins in Support of Chapter 11 Petitions and First Day Emergency
Motions (the “Declaration”) [ECF No. 14], is also hereby expressly incorporated herein.

        1.      Description of the Case and “as of” Petition Date. On August 8, 2024 (the
“Petition Date”), the Debtor filed the Chapter 11 Case. Since the Petition Date, the Debtor has
remained in possession of its assets and has continued to maintain its operations and financial
affairs as a debtor in possession in accordance with 11 U.S.C. §§ 1107 and 1108. The
information contained in the Schedules and SOFA, including all assets and liabilities, reflects
the best information available to the Debtor as of the Petition Date. Except as otherwise provided
therein, the values and amounts provided in the Schedules and SOFA reflect the relevant values
and amounts as of the Petition Date.



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       2.      Values. Unless otherwise stated on the Schedules, each asset and liability of the
Debtor reflected in the Schedules reflects the value of the assets and liabilities as listed in the
Debtor’s books and records and is not based upon any estimate of current market value. Where
management was unable to arrive at any good-faith estimate of current value, such value is listed
as “Unknown.” In many such cases, however, management anticipates that current value will be
determined in connection with contemplated sale of the Debtor’s assets.

        3.     Asset Descriptions. The descriptions of assets in Schedule A/B may be general
in nature, consistent with the requirements of the applicable Schedule questions. See, e.g.,
Schedule A/B, Part 7, Question 39 (providing for a “[g]eneral description” of office furniture).
In such instances, the Debtor may have available a more detailed list of assets, though the list is
not the product of an audit or formal inventory.

       4.        Claim Dates. The claims listed in Schedules D and E/F may have arisen or were
incurred on various dates prior to the Petition Date. In certain instances, the date on which a
claim arose is an open issue of fact. In most instances, it would be unduly burdensome for the
Debtor to list the date on which the claim arose and, therefore, the Debtor does not list a date for
each claim included in Schedules D and E/F.

       5.      Executory Contracts and Unexpired Leases. While the Debtor has made
reasonable efforts to ensure the accuracy of Schedules A/B and G regarding executory contracts
and unexpired leases, inadvertent errors, omissions, or over-inclusions may have occurred. The
Debtor reserves all of its rights to dispute the validity, status, or enforceability of any contracts,
agreements, or leases that may have terminated or expired or may have been modified, amended,
and supplemented from time to time by various amendments, restatements, waivers, letters, and
other documents, instruments, and agreements, which may not be listed therein, and to modify
the Schedules accordingly. In addition, certain of the agreements listed in Schedules A/B and G
may be non-executory or secured financings. The Debtor reserves all of its rights to dispute or
challenge the characterization of any agreements listed in the Schedules, or to re-categorize any
agreements listed therein as new information becomes available.

        6.      Causes of Action. The Debtor may not have set forth all of its causes of action
against third parties as assets in the Schedules. The Debtor reserves all of its rights with respect
to any causes of action that it may have, and neither the Notes nor the Schedules shall be deemed
a waiver of any such causes of action.

        7.      Insiders. In Part 2, Question 4 of the SOFA, the Debtor has attempted to include
all payments made on or within twelve (12) months of the Petition Date to or for the benefit of
any individual or entity deemed an “insider” as that term is defined in section 101(31) of the
Bankruptcy Code, including any officers, directors, and affiliated entities. The listing of a party
as an “insider” is not intended to be, nor should it be considered, a legal characterization of such
party as an insider and does not act as an admission of any fact, claim, right, or defense, and all
such rights, claims, and defenses are hereby expressly reserved.

       8.     Setoffs. The Debtor incurred certain setoffs and other similar rights during the
ordinary course of business resulting from various items such as pricing discrepancies, returns,

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and other disputes between the Debtor and its customers. These offsets and other similar rights
are consistent with the ordinary course of business.

        9.     Credits and Adjustments. The claims of individual creditors for, among other
things, goods, products, services, or technology are listed as amounts entered on the Debtor’s
books and records and may not reflect all credits, allowances, or other adjustments due from
such creditors to the Debtor. The Debtor reserves all of its rights respecting such credits,
allowances, and other adjustments.

        10.     Financial Statement Issuance. In Part 13, Question 26.d of the SOFA, the Debtor
is required to list financial institutions, creditors, and other parties, including trade agencies, to
whom it issued financial statements. The Debtor has endeavored to list the financial institutions,
other lenders, and regulatory bodies to whom it has issued financial statements during the period
specified. The Debtor has also provided extensive financial disclosures—which may or may not
constitute the issuance of financial statements within the meaning of Question 26.d—to various
other potential purchasers, lenders, and other parties to assist in its due diligence during the same
period but has not maintained detailed records of such disclosures. There may, therefore, be
additional parties to whom the Debtor has issued financial statements that are not listed in the
SOFA.

        11.     Professional Fee Retainer. In Part 6, Question 11 of the SOFA, the Debtor lists
the payment made related to restructuring or bankruptcy counseling within one year prior to the
Petition Date. This payment was treated as an advance payment retainer. As such, there were
remaining advance payment retainer amounts as of the Petition Date that will be applied to post-
petition services rendered to the Debtor.

        12.     Recharacterization. The Debtor has made reasonable efforts to accurately
characterize, classify, and designate the claims, assets, executory contracts, unexpired leases,
interests, property, and other items reported in the Schedules and SOFA. Nevertheless, due to
the complexity and nature of the Debtor’s operations, the Debtor may not have accurately
characterized, classified, categorized, or designated certain items. The Debtor reserves all of its
rights to recharacterize, reclassify, recategorize, or redesignate items reported in the Schedules
and SOFA at a later time as necessary or appropriate as additional information becomes
available, including as to the existence of any claim and the executory or unexpired nature (or
non-executory or expired nature) of contracts and leases identified herein.

        13.     Employee Claims. In Part 1, Question 2 of Schedule E/F requests information
about wage/benefit claims and related payroll withholdings and taxes of employees entitled to
priority under 11 U.S.C. § 507(a)(4)-(5). Pursuant to the Order Granting Motion of Debtor (A)
for Authority to (I) Pay Certain Prepetition Employee Wages, Salaries and Other Compensation,
(II) Pay and Honor Employee Medical and Other Benefits, and (III) Continue Employee Benefit
Programs; (B) to Obtain Related Relief; and (C) for Shortened and Limited Notice Thereof [ECF
No. 21], such claims have been or will be paid or honored post-petition pursuant to the authority
granted therein and therefore are deemed no long due and owing and not included on Schedule
E/F.



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